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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                Plaintiff,
                                                                CASE NO: 4:15MJ3113
       vs.

MARLIUVYS PRADO-MARTINEZ,                                       DETENTION ORDER
              Defendant.

        The defendant is charged with a drug crime under the Controlled Substances Act (21
U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or more years in
prison. On the government's motion, the court afforded the defendant an opportunity for a
detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f). The court concludes the
defendant must be detained.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.
        Based on the information of record, the court finds by a preponderance of the evidence
that the defendant's release would pose a risk of nonappearance at court proceedings, and by
clear and convincing evidence that the defendant's release would pose a risk of harm to the
public.
        Specifically, the court finds that the defendant abuses mood-altering chemicals and is
likely to continue such conduct and violate the law if released; has substantial contacts with a
foreign country and could flee the country before trial; has limited contacts with the community;
lacks a stable residence; has limited employment contacts; and conditions which restrict
Defendant’s travel, personal contacts, and possession of drugs, alcohol, and/or firearms; require
reporting, education, employment, or treatment; or monitor Defendant’s movements or conduct;
or any combination of these conditions or others currently proposed or available (see 18 U.S.C. §
3142(c)), will not sufficiently ameliorate the risks posed if the defendant is released.
                                 Directions Regarding Detention
        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of the
United States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.
       December 18, 2015.                            BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
